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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 18-cr-00359-REB

UNITED STATES OF AMERICA,

              Plaintiff,

v.


LAWRENCE MARTIN BIRK,

          Defendant.
_____________________________________________________________________

            DEFENDANT’S NON-STIPULATED JURY INSTRUCTION
 _____________________________________________________________________

       Defendant, Lawrence Martin Birk, by and through undersigned counsel, hereby

submits the following non-stipulated jury instruction.


                                          Respectfully submitted,


                                          VIRGINIA L. GRADY
                                          Federal Public Defender



                                          s/ Edward R. Harris
                                          Edward R. Harris
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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2019, I electronically filed the foregoing

              DEFENDANT’S NON-STIPULATED JURY INSTRUCTION

with the Clerk of Court using the CM/ECF system which will send notification of such filing
to the following e-mail addresses:

      Christopher Michael Magnani, Assistant United States Attorney
      E-mail: christopher.magnani@usdoj.gov

      Elizabeth Caryl Hadden, Assistant United States Attorney
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and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Lawrence Martin Birk         (via U.S. mail)


                                          s/ Edward R. Harris
                                          Edward R. Harris
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